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                   12
                                                   UNITED STATES DISTRICT COURT
                   13
                                                  NORTHERN DISTRICT OF CALIFORNIA
                   14
                                                           OAKLAND DIVISION
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                        In re Google RTB Consumer Privacy             Master File No. 4:21-cv-02155-YGR-VKD
                   17   Litigation,
                                                                      DECLARATION OF AARTI REDDY IN
                   18                                                 SUPPORT OF GOOGLE LLC’S
                                                                      ADMINISTRATIVE MOTION SEEKING TO
                   19   This Document Relates to: all actions         FILE A SUR-REPLY AND TO DEPOSE
                                                                      PLAINTIFFS’ REBUTTAL EXPERTS
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COOLEY LLP
ATTORNEYS AT LAW                                                            DEC. OF A. REDDY ISO GOOGLE’S REQUEST
 SAN FRANCISCO                                                                FOR SUR-REPLY & EXPERT DEPOSITIONS
                                                                                  CASE NO. 4:21-CV-02155-YGR-VKD
                        Case 4:21-cv-02155-YGR           Document 636-1          Filed 12/15/23       Page 2 of 3



                    1           I, Aarti Reddy, declare as follows:
                    2          1.       I am an attorney at the law firm of Cooley LLP and an attorney of record for Google
                    3   LLC (“Google”) in In re Google RTB Consumer Privacy Litigation, Case No. 4:21-cv-02155. I
                    4   am licensed to practice law in the state of California and am admitted to practice before this Court.
                    5   I submit this declaration in support of Google’s Administrative Motion Seeking to File a Sur-Reply
                    6   and to Depose Plaintiffs’ Rebuttal Experts.
                    7          2.       After Plaintiffs filed their reply brief in support of the motion for class certification
                    8   and accompanying expert rebuttal reports, I emailed Plaintiffs’ counsel requesting dates to schedule
                    9   depositions for Plaintiffs’ experts Christopher Wilson, Neil Richards, and Robert Zeithammer.
                   10          3.       Plaintiffs’ counsel, Elizabeth Pritzker, responded to my email two days later and
                   11   stated that “Plaintiffs are conferring about this request” and further requested that Google “provide
                   12   support for its position that it is entitled to a second deposition of the class certification experts[.]”
                   13   Ms. Pritzker stated that “Plaintiffs are unaware of any legal support for this proposition.”
                   14          4.       The next day, I responded to Ms. Pritzker’s email, citing and attaching the decision
                   15   of In re Chicago Bridge & Iron Co. N.V. Securities Litigation, 2019 WL 6879321 (S.D.N.Y. Dec.
                   16   16, 2019). I further explained that this decision cited “numerous additional authorities.”
                   17          5.       The next day, Ms. Pritzker responded to my email. She stated, “[h]aving reviewed
                   18   the magistrate decision in the Chicago Bridge and Iron case you provided, plaintiffs disagree that
                   19   there is a basis for Google to request a second deposition of plaintiffs’ class certification experts[.]”
                   20   Ms. Pritzker did not address the other decisions cited in In re Chicago Bridge, did not explain why
                   21   Google was not entitled to conduct the additional expert depositions, and did not cite any contrary
                   22   authority supporting Plaintiffs’ position.
                   23          6.       Counsel for the parties further discussed these issues during a video conference held
                   24   on December 15, 2023. During this conference, I explained that Google would be seeking leave to
                   25   file a sur-reply and to conduct additional depositions of Google’s experts. Ms. Pritzker indicated
                   26   that Plaintiffs would be opposing Google’s motion.
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ATTORNEYS AT LAW                                                                        DEC. OF A. REDDY ISO GOOGLE’S REQUEST
 SAN FRANCISCO                                                              2             FOR SUR-REPLY & EXPERT DEPOSITIONS
                                                                                              CASE NO. 4:21-CV-02155-YGR-VKD
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                    3         I declare under penalty of perjury that the foregoing is true and correct.
                    4         Executed on December 15, 2023, in Newport Beach, California.
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                                                                         /s/ Aarti Reddy
                    6                                                    Aarti Reddy
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ATTORNEYS AT LAW                                                                    DEC. OF A. REDDY ISO GOOGLE’S REQUEST
 SAN FRANCISCO                                                          3             FOR SUR-REPLY & EXPERT DEPOSITIONS
                                                                                          CASE NO. 4:21-CV-02155-YGR-VKD
